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                                          January 24, 2024

VIA EMAIL and CMECF
The Honorable George C Hanks, Jr.
United States Courthouse
515 Rusk Street, Room 6202
Houston, Texas 77022
Cm4147@txs.uscourts.gov

                Re:     Couvillion Group, LLC v. White Marlin Operating
                        Company, LLC, et al; Civil Action No. 4:22-cv-00908
                        Couvillion’s Request for Pre-Motion Conference

Dear Judge Hanks,

       In accordance with the court’s procedures, the parties submit the instant request
regarding an ongoing discovery dispute. Specifically, the parties disagree whether White
Marlin Operating Company, LLC (“White Marlin”), Agua Tranquillo Midstream LLC
(“Agua”), and Talco Petroleum, LLC (“Talco”) (together, the “White Marlin Defendants” or
“Defendants”) must provide substantive answers and documents in response to
Interrogatories and Requests for Production of Documents propounded by Couvillion
Group, LLC (“Couvillion”) on October 2, 2023 and December 14, 2023.

                                       Background
       Couvillion’s Verified Second Amended Complaint asserts causes of action based
in breach of contract, breach of oral contract, suit on sworn account, alter ego, fraud,
negligent misrepresentation, and quantum meruit arising out of the White Marlin
Defendants’ failure to pay Couvillion for services rendered in the summer of 2021. (ECF
24).1 On April 24, 2023, the White Marlin Defendants filed a Motion to Dismiss, wherein
Agua and Talco sought dismissal of all of Couvillion’s claims against them, in addition to
White Marlin seeking dismissal of all but two of Couvillion’s claim. (ECF 37). While the
Motion to Dismiss was pending, the parties filed a joint letter with the Court regarding the
White Marlin Defendants’ request for a protective order from answering Couvillion’s
discovery. (ECF 44). In response, the Court set a discovery hearing on October 25, 2023,
during which it denied the White Marlin Defendants’ Motion to Dismiss in its entirety. (ECF
46)
       On November 20, 2023, the White Marlin Defendants served their objections and
responses to Couvillion’s written discovery, and ultimately produced more than 20,000
pages of documents. On January 22, 2024, the White Marlin Defendants served
objections and responses to Couvillion’s First Supplemental Requests for Production, but
have produced no additional documents. Couvillion maintains that the White Marlin
Defendants have not complied with their obligations under the Federal Rules of Civil
Procedure. Specifically, Couvillion argues that the White Marlin Defendants failed to
provide substantive responses to 10 of Couvillion’s 14 Interrogatories and failed to

1 White Marlin also filed a Counterclaim against Couvillion (ECF 42), which Couvillion answered on June

15, 2023. (ECF 43).

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produce documents responsive to Couvillion’s RPD Nos. 3 through 29 and 67 through
86.2 (See Exhibit A). While the parties attempted to reach a compromise, they were
unsuccessful. The parties conferred at length via telephone on December 5, 2023, in
addition to January 23, 2024.

                                 Couvillion’s Motion to Compel
        In its anticipated Motion, Couvillion will request the Court enter an order compelling
the White Marlin Defendants fully respond to discovery, as the information sought is
relevant to the pending causes of action, and Defendants’ objections to providing
complete responses are grounded in arguments previously rejected by this Court. As
detailed in the parties’ first letter, Defendants maintained that they should not be required
to respond to discovery related to the Defendants’ ownership, control, and financial
relationship, as these requests were premature, irrelevant, and overly burdensome.
Defendants stated further that they should not produce the documents and information
sought “until the Court rules on the Motion to Dismiss.” (ECF 44). The Court has since
denied Defendants’ Motion to Dismiss, and Defendants agreed their objections to
responding to discovery were moot. (ECF 46) However, Defendants continue in their
refusal to respond to Couvillion’s discovery on the same grounds, objecting on the basis
of relevancy and burden.
        Couvillion’s discovery seeks specific financial statements, asset transfers, banking
information, and employment records, as the information therein is relevant to Couvillion’s
pending claims of fraud, alter ego, and breach of contract. Subsquent to the Court’s denial
of Defendants’ Motion to Dismiss, Couvillion maintains the right to conduct discovery
related to all of its claims, including its claim that Defendants perpetuated acts of fraud to
induce Couvillion’s performance while knowing they did not have the resources to timely
pay Couvillion.
        As such, Couvillion respectfully requests the Court intervene and order Defendants
provide all documents responsive to RFP Nos. 3-29 and 67-86. (See Exhibit B – Def’s
Responses to RFP). In addition, Couvillion requests the Court order Defendants
supplement their responses to Interrogatory Nos. 1 through 6. (See Exhibit C – Def’s
Responses to ROGS). Further, Couvillion requests the Court order Defendants to
supplement their written responses to Requests for Production and identify which
documents are produced in response to each Request. This is the only way for Couvillion
to verify whether Defendants have responded to each of its Requests, as Defendants’
current responses wholly fail to indicate whether documents have been produced.

                        Opposition by White Marlin Defendants
      The White Marlin Defendants have produced more than 20,000 documents in
response to Couvillion’s Requests for Production. Couvillion ignores this and attempts to
persuade this Court that the White Marlin Defendants “agreed their objections to
responding to discovery were moot” during the Court’s hearing on their Motion for
Protection. Couvillion’s assertion is highly disengenious and categorically false. In its
Motion for Protection, the White Marlin Defendants argued that they should not have to

2 During the discovery conference, counsel for the White Marlin Defendants acknowledged that they

withheld production of any documents responsive to RFP Nos. 3 – 29 and 67 – 78.
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respond to Couvillion’s discovery at all until the Court ruled on their pending Motion to
Dismiss because, had the Court granted that Motion, most of the White Marlin Defendants
would not have had any legal obligation to respond to Couvillion’s discovery requests. In
the hearing that followed, the Court orally denied the White Marlin Defendants’ Motion to
Dismiss. Accordingly, their counsel stated that its Motion for Protection was moot and
stated that the White Marlin Defendants would appropriately respond (including, where
appropriate, with objectioins) to Couvillion’s outstanding discovery requests. This is
precisely what the White Marlin Defendants have done, and the White Marlin Defendants
ask that the Court sustain those objections.
        Couvillion does not merely want documents, though. It also asks the Court to order
the White Marlin Defendants “to identify which documents are produced in response to
each Request.” But Couvillon’s request conflicts with the express text of Federal Rule of
Civil Procedure 34(b). That Rule states that a “party must produce documents as they are
kept in the usual course of business or must organize and label them to correspond to
the categories in the request.” Fed. R. Civ. P. 34(b)(2)(E)(i). The White Marlin Defendants
produced their documents as they were and are kept in the ordinary course of business,
and therefore they do not have to “organize and label its production to correspond to the
cateogories in each request.



                                                With Kind Regards,


                                                /s/ Daniel E. Schwank

                                                and

                                                /s/ Jeb Golinkin
